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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                                      No.     No. 4:17-CR-244-Y

BRANDY RENE TORRES (1)
a/k/a “BRANDY RENE CEDILLO”

                          GOVERNMENT'S NOTICE REGARDING
                           ACCEPTANCE OF RESPONSIBILITY

        The United States of America files this Government's Notice Regarding

Acceptance of Responsibility, pursuant to USSG § 3E1.1(b), and would show as follows:

        If the Court determines that Brandy Rene Torres, also known as Brandy Rene

Cedillo, is entitled to a reduction for Acceptance of Responsibility, and that her offense

level is 16 or greater, the Government moves that Torres receive an additional third point

reduction for Acceptance of Responsibility, pursuant to USSG § 3E1.1(b), because

Torres has assisted authorities in the investigation or prosecution of her own misconduct

by timely notifying authorities of her intention to enter a plea of guilty, thereby

permitting the government to avoid preparing for trial and permitting the government and

the court to allocate their resources efficiently.




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                                                 Respectfully submitted,

                                                 ERIN NEALY COX
                                                 UNITED STATES OF ATTORNEY

                                                 s/ Nancy E. Larson
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2017, I electronically filed the foregoing
document with the clerk for the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court. The electronic case filing system sent a
ANotice of Electronic Filing@ to the following parties who have consented in writing to
accept this Notice as service of this document by electronic means: U.S. Probation Office
and Mark Perez, counsel for defendant.




                                                 s/ Nancy E. Larson
                                                 NANCY E. LARSON
                                                 Assistant United States Attorney




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